                        Case 3:23-cv-00046-KC Document 49-2 Filed 03/18/24 Page 1 of 4




From:                                         Soraya Yanar Hanshew <syhlaw@outlook.com>
Sent:                                         Monday, March 11, 2024 12:50 PM
To:                                           Jill Bigler; Vanhooser, Bethany
Cc:                                           Greta Ravitsky; Chris Page McGinnis; Jackson, Sam
Subject:                                      Re: ANA DAVIS v. Wyoming National Logistics and SUPREME LABOR SOURCE et al.;
                                              3:23-cv-00046-KC



                                                               *** EXTERNAL EMAIL ***



Counsel,
As you are all aware, numerous documents that indeed were requested in Plaintiff's discovery requests and
were not objectionable, were identified as existent by your witnesses during Plaintiff's depositions, while such
witnesses were under cross examination. Your witnesses identified numerous documents that were already in
the possession of your clients, none of which had ever been produced, all of which fell within the confines of
Plaintiff's prior requests.
You as counsel were aware of the existence of these documents at the time your witnesses identified such
documentation during their depositions Wednesday and Thursday of last week, if not earlier. You
acknowledged the same during the course of these depositions, and as such, all of this is on record.
I requested at that time Defendants supplement their discovery immediately in light of the knowledge of the
existence of documents that are both relevant and had been previously requested but never produced, as the
depositions continued. My correspondence to you last Friday simply memorializes these prior discussions and
your prior acquiescence to produce the documents identified by your witnesses and never previously
produced by Defendants.
As such, Plaintiff's motion to compel is ripe. Moreover, Defendants have yet to supplement their discovery as
requested during the course of the depositions and Plaintiff must file her motion today in accordance with the
Court's scheduling order.
If Defendants properly supplement their discovery responses between now and the hearing for the Motion to
Compel, I will gladly update the Court on whatever supplementation has been provided.
Thank you,
Ms. Hanshew

Soraya Yanar Hanshew
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From: Jill Bigler <JBigler@ebglaw.com>
Sent: Monday, March 11, 2024 9:54 AM
To: Vanhooser, Bethany <bvanhooser@spencerfane.com>; Soraya Yanar Hanshew <syhlaw@outlook.com>
Cc: Greta Ravitsky <GRavitsky@ebglaw.com>; Chris Page McGinnis <CTPage@ebglaw.com>; Jackson, Sam
<sjackson@spencerfane.com>
Subject: RE: ANA DAVIS v. Wyoming National Logistics and SUPREME LABOR SOURCE et al.; 3:23-cv-00046-KC

Soraya,

We are in receipt of your discovery deficiency letter, which you sent at 8:56 p.m. EST on Friday, March 8, 2024 and
demanded the defendants produce a large number of documents by 12 p.m. EST on Monday, March 11, 2024 with the
threat of filing a motion to compel should defendants not comply. As counsel for Supreme Labor stated to you this
morning, the majority of the documents you have requested in your letter have not been previously requested by you,
and, thus, cannot be requested through a discovery deficiency letter, particularly one with an arbitrary and
unreasonable deadline. You essentially gave us (WY National’s counsel) four business hours to comply. As new
document requests, you are required to provide us 30 days to respond under FRCP 34, though, as counsel for Supreme
pointed out, fact discovery closes today and, consequently, your new RFPs are improper. Additionally, many of the
documents you have requested are overbroad and wholly irrelevant to the claims and defenses in this matter. Others
are so vague that we are unable to discern what documents you are requesting or from whom you are requesting those
documents. Finally, WY National has already produced several of the documents you request – e.g., Reports regarding
plaintiff – see Bates WYN0000707-716; Code of Conduct – see Bates WYN0000056-73; Plaintiff’s “employee file” – see
Bates WYN0000055, 707-716; Plaintiff’s attendance – see Bates WYN0000084, 652, 666, 705-706.

Subject to and without waiving the above or any other objections, we will agree to search for the following documents:
     Purchase orders from Rapid Deployment to Wyoming National for the Ft. Bliss Project
     Contents of Lina Arteada’s “employee file”
     Any additional emails to Supreme requesting additional YCWs for Ft. Bliss
     Any additional documents in plaintiff’s “employee file” that have not otherwise been produced
     Any additional documents related to YCW attendance at Ft. Bliss
     Any additional documents related to rosters or call back lists for Ft. Bliss

If you would like to discuss, I would be happy to schedule a meet and confer call with you this week.




Jill Bigler | Bio
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JBigler@ebglaw.com
250 West Street, Suite 300 | Columbus, OH 43215
t 614.872.2500 | www.ebglaw.com

From: Vanhooser, Bethany <bvanhooser@spencerfane.com>
Sent: Monday, March 11, 2024 9:41 AM
To: Soraya Yanar Hanshew <syhlaw@outlook.com>
Cc: Greta Ravitsky <GRavitsky@ebglaw.com>; Jill Bigler <JBigler@ebglaw.com>; Chris Page McGinnis
<CTPage@ebglaw.com>; Jackson, Sam <sjackson@spencerfane.com>
Subject: RE: ANA DAVIS v. Wyoming National Logistics and SUPREME LABOR SOURCE et al.; 3:23-cv-00046-KC


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                                                     *** EXTERNAL EMAIL ***



Soraya,

As an initial matter, the requirement set forth in your letter sent on Friday evening at 7:56 p.m. CST for production of a
substantial number of documents by this morning is unreasonable. Moreover, the items that you requested were either
not previously requested and would therefore constitute entirely new requests for production under Rule 34 of the
Federal Rules of Civil Procedure, which would not be permissible given the fact discovery deadline for this case, or are
covered by our previous objections in response to your discovery requests (e.g., overly broad and unduly burdensome
and completely lacking in relevance to any parties claims or defenses). Prior to your Friday (3/8) correspondence,
Supreme Labor never received any deficiency letter from you regarding our October 13 discovery responses.

That being said, as discussed in the depositions last week, Supreme Labor has agreed to produce:
    Payroll sheets for the time period inclusive of Ms. Davis’ employment, including from 5/17/21 to 10/25/21;
    Any Covid/sick sheets in our possession during the relevant time period;
    Any additional emails located from Wyoming requesting additional employees; and
    Information regarding Laura Luevano’s death, if any.

We are finalizing these documents and will have those over to you as soon as possible today.

Thanks,

Bethany

Bethany Vanhooser Attorney
Spencer Fane Bone McAllester

511 Union Street, Suite 1000 | Nashville, TN 37219
O 615.238.6314
bvanhooser@spencerfane.com | spencerfane.com



From: Soraya Yanar Hanshew <syhlaw@outlook.com>
Sent: Friday, March 8, 2024 7:56 PM
To: Jill Bigler <JBigler@ebglaw.com>; Chris Page McGinnis <CTPage@ebglaw.com>; Jackson, Sam
<sjackson@spencerfane.com>; Vanhooser, Bethany <bvanhooser@spencerfane.com>
Cc: gravitsky@ebglaw.com; Washington, DeAndrea <dwashington@spencerfane.com>
Subject: [EXTERNAL] ANA DAVIS v. Wyoming National Logistics and SUPREME LABOR SOURCE et al.; 3:23-cv-00046-KC

[Warning] This E-mail came from an External sender. Please do not open links or attachments unless you are sure it is
trusted.

Counsel,
Please see the discovery deficiency correspondence attached.
Than you,
Ms. Hanshew

Soraya Yanar Hanshew
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From: Soraya Yanar Hanshew <syhlaw@outlook.com>
Sent: Friday, March 8, 2024 1:08 PM
To: Jill Bigler <JBigler@ebglaw.com>; Chris Page McGinnis <CTPage@ebglaw.com>; Jackson, Sam
<sjackson@spencerfane.com>; Vanhooser, Bethany <bvanhooser@spencerfane.com>
Cc: gravitsky@ebglaw.com <gravitsky@ebglaw.com>; Washington, DeAndrea <dwashington@spencerfane.com>
Subject: CONFIDENTIAL SETTLEMENT DISUCSSION: ANA DAVIS v. Wyoming National Logistics and SUPREME LABOR
SOURCE et al.; 3:23-cv-00046-KC

Counsel:
Please see the attached confidential settlement correspondence on behalf of my client ANA DAVIS.
Thank you,
Ms. Hanshew

Soraya Yanar Hanshew
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